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 5 Attorneys for Defendants Kenneth Klein and
     Shoshana Shifra Klein
 6

 7

 8                             UNITED STATES BANKRUPTCY COURT
 9            CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
10

11 In re                                         Case No. 2:23-bk-10990-SK
                                                 Chapter 11
12 LESLIE KLEIN,
                                                 Adv No. 2:23-ap-01167-SK
13                Debtor.
                                                 NOTICE OF SCHEDULING ORDER
14                                               RE: DEFENDANTS’ CROSS-MOTION
     BRADLEY D. SHARP, Chapter 11                FOR SUMMARY JUDGMENT OR, IN
15 Trustee,                                      THE ALTERNATIVE, SUMMARY
                                                 ADJUDICATION
16                Plaintiff,
                                                 Date: February 5, 2025
17         vs.                                   Time: 9:00 a.m.
                                                 Crtrm.: 1575
18 KENNETH KLEIN and SHOSHANA
     SHIFRA KLEIN,                               Judge:   Sandra R. Klein
19
                  Defendants.
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     NOTICE OF SCHEDULING ORDER RE: DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT OR,
                         IN THE ALTERNATIVE, SUMMARY ADJUDICATION
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 8                           UNITED STATES BANKRUPTCY COURT
 9                            CENTRAL DISTRICT OF CALIFORNIA
10                                   LOS ANGELES DIVISION
11
     In re:                                              Case No.: 2:23-bk-10990-SK
12
     Leslie Klein,                                       Chapter: 11
13

14                                                       Adversary No.: 2:23-ap-01167-SK

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16
                                            Debtor, CROSS-MOTION FOR SUMMARY
17                                                  JUDGMENT OR, IN THE ALTERNATIVE,
     Bradley D. Sharp                               SUMMARY ADJUDICATION
18
                                           Plaintiff,
19

20
                                            Vs. Date: February 5, 2025
21                                               Time: 9:00 a.m.
     Kenneth Klein, Shoshana Shrifa Klein,       Location: Courtroom 1575
22
     Kenneth Kolev Klein                                   255 East Temple St.
23                                                         Los Angeles, CA 90012
                                   Defendant(s).
24

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26                   On November 26, 2024, Defendants Kenneth Klein and Shoshana Shrifa Klein
27   (Defendants)                            -                                    Cross-
28   Motion). Docket #65. The Court having reviewed the Cross-Motion and for good cause,




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 1
            IT IS HEREBY ORDERED that a hearing on the Cross-Motion is set on February 5,
 2
     2025, at 9:00 a.m. Appearances may be made in-person or via ZoomGov.
 3
           IT IS FURTHER ORDERED that Defendants must serve all required parties with this
 4
     Order by 5:00 p.m. on December 6, 2024.
 5
           IT IS FURTHER ORDERED that any opposition to the Cross-Motion must be filed and
 6
     served by December 18, 2024, at 12:00 p.m. (noon).
 7
           IT IS FURTHER ORDERED that any reply must be filed and served by December 31,
 8
     2024, at 12:00 p.m. (noon).
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           IT IS FURTHER ORDERED that no further briefing will be allowed or considered.
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                           11400 W. Olympic Blvd., 9th Floor, Los Angeles, CA 90064

A true and correct copy of the foregoing document entitled (specify): NOTICE OF SCHEDULING ORDER RE: DEFENDANTS’
CROSS-MOTION FOR SUMMARY JUDGMENT OR, IN THE ALTERNATIVE, SUMMARY ADJUDICATION

will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document. On (date) December 6, 2024, I checked the
CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:

         Simon Aron saron@wrslawyers.com, moster@wrslawyers.com;jlee@wrslawyers.com
         Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
         Jeffrey W Dulberg jdulberg@pszjlaw.com
         Robert P Goe kmurphy@goeforlaw.com,
          rgoe@goeforlaw.com;goeforecf@gmail.com;Goe.RobertP.R@notify.bestcase.com;ajohnston@goeforlaw.com
         Michael I. Gottfried mgottfried@elkinskalt.com,
          cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com,tparizad@elkinskalt.com
         Jeffrey P Nolan jnolan@pszjlaw.com
         Nikko Salvatore Stevens nikko@cym.law, karen@cym.law
         United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
         Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com

                                                                                  Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) December 6, 2024, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later
than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) December 6, 2024, I served the following persons
and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.




                                                                                    Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

December 6, 2024                     Jean Lee                                               /s/ Jean Lee
Date                         Printed Name                                                   Signature

3820686.1 This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
